               Case 1:20-cr-00607-LJL Document 24
                                               23 Filed 01/12/21
                                                        01/07/21 Page 1 of 1


                               LAW OFFICE OF SAM A. SCHMIDT
                                       115 BROADW AY Suite 1704
                                        NEW YORK, N.Y. 10006
                                               (212) 346-4666
                                        FACSIMILE (212) 346-4668
                                         E-mail lawschmidt@aol.com



    Sam A. Schmidt, Esq.
    __________________

                                                                January 7, 2021

    Honorable Lewis J. Liman, USDJ
    United States District Court
    Southern District of New York
    500 Pearl Street
    New York, N.Y. 10007
                             Re: U.S. v. George Adams
                                 20 Cr. 607 (LJL)

    Dear Judge Liman:

           I am the attorney assigned, pursuant to the Criminal Justice Act, to represent
    Mr. Adams. Communication between Mr. Adams and myself have broken down
    and he has asked me to request that I be relieved and another attorney be assigned
    to represent him. I have no objection to this request.

          Therefore, I respectfully request that I be relieved as Mr. Adams’ attorney
    and new counsel be assigned.

            Thank you for your consideration of this request.

                                                        Sincerely yours,
                                                              /s/
                                                        Sam A. Schmidt

MEMO ENDORSEMENT.
Change of Counsel Hearing set for 1/13/2021 at 2:00 PM. The hearing will proceed by Video Conference
and parties will be provided instructions to access the zoom conference. The public/press may access the
hearing through the Court's audio only teleconference line by dialing 888-251-2909 and using access code
2123101.

  1/12/2021
